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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


       v.                                                           DECISION AND ORDER
                                                                       00-CR-199S-19
JULIO NUNEZ,

                                 Defendant.



       1.         On March 14, 2001, the Grand Jury for the Western District of New York

returned a 46 count Indictment charging 19 Defendants, including Julio Nunez, with

conspiracy to possess with the intent to distribute, fifty (50) grams or more of a substance

containing cocaine base, in violation of Title 21, United States Code, Sections 841(a)(1),

841 (b)(1)(A), and 846, and other narcotics offenses. Every other Defendant besides Mr.

Nunez has pled guilty, passed away, or been tried for his or her role in the charged

offenses. Currently before this Court is Mr. Nunez’s Motion to Dismiss the Indictment

based on his prolonged mental incompetency pursuant to Rule 48(b) of the Federal Rules

of Criminal Procedure. For the following reasons, his Motion is denied.

       2.         Mr. Nunez’s relevant legal history is as follows. On July 27, 2000, prior to his

Indictment in the Western District, Mr. Nunez was indicted along with 18 other Defendants

in the Southern District of New York and charged with various federal narcotics offenses.1

Mr. Nunez pled guilty to Count One of the Southern District Indictment before the

Honorable Richard Conway Casey, United States District Court Judge, on January 23,


       1
           The case in the Southern District of New York is docketed as case num ber S2-00-Cr-121(RCC).

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2003. For reasons unknown to this Court, Mr. Nunez thereafter attempted to withdraw his

plea. In January of 2004, Judge Casey ordered that Mr. Nunez undergo a psychiatric

evaluation, but he was not immediately examined due to a technical defect in Judge

Casey’s order. In addition, the United States Attorney’s Office was unable to locate Mr.

Nunez for a brief period of time.

       3.     On June 30, 2004, Judge Casey issued a second order directing that Mr.

Nunez undergo a psychiatric evaluation. Dr. William J. Ryan, a psychologist with the

Bureau of Prisons, conducted several interviews with Mr. Nunez to evaluate his mental

condition. (Psy. Rep., p. 1). In his August 23, 2004 report, Dr. Ryan concluded that Mr.

Nunez presented with “Major Depressive Disorder, Severe with Psychotic Features,” which

constitutes a mental disease under the law. (Psy. Rep., p. 10). Further, Dr. Ryan opined

that Mr. Nunez was not competent to stand trial because: (1) he did not possess a rational

and factual understanding of the proceedings against him; (2) he did not have the capacity

to assist legal counsel in his defense; and (3) he could not rationally make decisions

regarding legal strategy. (Psy. Rep., p. 10). Accordingly, Dr. Ryan recommended that “Mr.

Nunez be sent away for restoration to competency,” pursuant to 18 U.S.C. § 4241(d).

(Psy. Rep., p. 10). Based on this recommendation, Mr. Nunez was transferred to Butner

Medical Facility in North Carolina for psychiatric treatment.

       4.     On July 19, 2005, Judge Casey entered an Order acknowledging the parties’

agreement that Defendant was presently suffering from a mental disease or defect, to wit,

Major Depressive Order Severe with Psychotic Features. (Gov’t Mot. Adj. Pro., Ex. 1, p.




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1).2 Judge Casey ordered Mr. Nunez committed to the custody of the Attorney General

pursuant to 18 U.S.C. § 4244,3 for a term of life, life being the maximum term of

imprisonment under the statute of conviction. See 21 U.S.C. § 841(b)(1). (Gov’t Mot. Adj.

Pro., Ex. 1, p. 2). Judge Casey further ordered that if the director of the facility in which Mr.

Nunez is committed determines that he has recovered from his mental disease, the

director is to certify the same to the United States District Court of the Southern District of

New York and a final sentence shall be imposed. (Id.)

        5.         In the meantime, the Western District Indictment has remained outstanding

against Mr. Nunez. Based on the competency proceedings before Judge Casey, the

requirements of 18 U.S.C. § 4241 have been satisfied, that Mr. Nunez is legitimately

detained under 18 U.S.C. § 4244(d).4                 Counsel agree that Mr. Nunez is presently


        2
            The Governm ent’s Motion to Adjourn the Proceedings appears at Docket No. 573 in the instant
case.

        3
          Title 18, United States Code, Section 4244 governs the hospitalization of a convicted person
suffering from a m ental disease or defect, and provides:

        If, after the hearing, the court finds by a preponderance of the evidence that the defendant
        is presently suffering from a m ental disease or defect and that he should, in lieu of being
        sentenced to im prisonm ent, be com m itted to a suitable facility for care or treatm ent, the
        court shall com m it the defendant to the custody of the Attorney General. The Attorney
        General shall hospitalize the defendant for care or treatm ent in a suitable facility. Such a
        com m itm ent constitutes a provisional sentence of im prisonm ent to the m axim um term
        authorized by law for the offense for which the defendant was found guilty.

18 U.S.C. § 4244(d); see also United States v. Roberts, 915 F.2d 889, 892 (4th Cir. 1990) (holding that
Section 4244(d) authorizes a provisional sentence up to the statutory m axim um sentencing for a
defendant’s crim e).


        4
           Title 18, United States Code, Section 4241, governs the determ ination of a defendant’s m ental
com petency to stand trial. Under Section 4241(a), upon the m otion of the Governm ent or defendant, the
trial court m ust order a hearing to determ ine the defendant's com petency to stand trial if there is
reasonable cause to believe that the defendant “m ay presently be suffering from a m ental disease or
defect rendering him m entally incom petent to the extent that he is unable to understand the nature and
consequences of the proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241(a).
Section 4241(b) authorizes the trial court to order a psychological exam ination of a defendant prior to his
or her com petency hearing. “If, after the hearing, the court finds by a preponderance of the evidence that

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incompetent to stand trial. On June 8, 2006, counsel for the Government reported that he

had conferred with Dr. Lucking at Butner Medical Facility, who advised that Mr. Nunez was

not responding to anti-psychotic drugs. Counsel for the Government requested a written

report from Dr. Lucking detailing the basis for his conclusion that Mr. Nunez could not be

rehabilitated. Defense counsel orally moved at that time to dismiss the Western District

Indictment pursuant to Rule 48(b)(3) of the Federal Rules of Civil Procedure, arguing that

there was no indication that Mr. Nunez would be restored to mental competency, that he

had already pled guilty to the Southern District Indictment, and that he faced a potential life

sentence thereunder if -- by chance -- he happened to recover from his psychosis. The

Government orally opposed dismissal of the Indictment.

     6.         Rule 48(b)(3) of the Federal Rules of Criminal Procedure provides, “[t]he

court may dismiss an indictment, information or complaint if unnecessary delay occurs in

. . . bringing a defendant to trial.” Fed.R.Crim.P. 48(b)(3). Generally, dismissal under Rule

48(b) is committed to the sound discretion of the district court. See United States v. Lane,

561 F.2d 1075, 1078 (2d Cir. 1977); United States v. Loe, 586 F.2d 1015, 1019 (4th Cir.

1978). Where delay in bringing a defendant to trial is attributable to his or her mental

incompetency, courts will only dismiss an indictment if such delay has violated defendant’s

right to a speedy trial. See, e.g., United States v. Dale, 426 F. Supp. 675, 676 (S.D.N.Y.

1976).

          7.    To determine whether a defendant’s right to a speedy trial has been denied,

courts must consider the length of the delay, the reasons for the delay, the defendant's


the defendant is presently suffering from a m ental disease or defect rendering him m entally incom petent
to the extent that he is unable to understand the nature and consequences of the proceedings against him
or to assist properly in his defense, the court shall com m it the defendant to the custody of the Attorney
General.” 18 U.S.C. § 4241(d).



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assertion of his right, and the extent of prejudice to the defendant. Barker v. Wingo, 407

U.S. 514, 530, 92 S.Ct. 2182, 2192, 33 L.Ed.2d 101 (1972); United States v. McGrath, 622

F.2d 36, 40 (2d Cir. 1980). As the Supreme Court has recognized, none of these factors

have “talismanic qualities,” in that none is “either a necessary or sufficient condition to the

finding of a deprivation of the right to speedy trial.” Barker, 407 U.S. at 533, 92 S.Ct. at

2193.    Rather, these related factors “must be considered together with such other

circumstances as may be relevant.” Id.

        8.    As an initial matter, this Court notes that the five year delay in bringing Mr.

Nunez to trial does not mandate dismissal of the Indictment. In numerous cases, the

Second Circuit has found no speedy trial violation, despite lengthy delays in indicting a

defendant or bringing him to trial. See, e.g., McGrath, 622 F.2d 36 (24 months); Lane, 561

F.2d at 1075 (58 months); United States v. Cyphers, 556 F.2d 630 (2d Cir.), cert. denied,

431 U.S. 972, 97 S.Ct. 2937, 53 L.Ed.2d 1070 (1977) (33 months); United States v. Mejias,

552 F.2d 435 (2d Cir.), cert. denied,434 U.S. 847, 98 S.Ct. 154, 54 L.Ed.2d 115 (1977) (21

months); United States v. McQuillan, 525 F.2d 813 (2d Cir. 1975) (26 months); United

States v. Lasker, 481 F.2d 229 (2d Cir. 1973), cert. denied, 415 U.S. 975, 94 S.Ct. 1560,

39 L.Ed.2d 871 (1974) (2 years); United States v. Infanti, 474 F.2d 522 (2d Cir. 1973) (28

months); United States v. Fasanaro, 471 F.2d 717 (2d Cir. 1973) (over 4 years); United

States v. Saglimbene, 471 F.2d 16 (2d Cir.), cert. denied, 411 U.S. 966, 96 S.Ct. 2146, 36

L.Ed.2d 686 (1973) (6 years); United States v. Schwartz, 464 F.2d 499 (2d Cir.), cert.

denied, 409 U.S. 1009, 93 S.Ct. 443, 34 L.Ed.2d 302 (1972) (4 ½ years); see also Barker,

407 U.S. 514, 92 S.Ct. 2182 (5 years).

        9.    Secondly, the parties do not dispute that the delay in bringing Mr. Nunez to


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trial is directly attributable to his psychiatric examination and prolonged mental

incompetency.5 It is axiomatic that "delays caused by a defendant's mental inability to

stand trial or delays necessitated by a psychiatric examination required to determine a

defendant's competency to stand trial are not to be considered in deciding whether a

defendant's right to speedy trial has been abused." Dale, 426 F.Supp. at 677-78 (citations

omitted). Further, delays caused by Defendant’s incompetency to stand trial are

automatically excluded from the time in which the Government must bring a defendant to

trial under the Speedy Trial Act.6 See 18 U.S.C. § 3161(h)(4); United States v. Oberoi, 295

F. Supp. 2d 286, 289 (W.D.N.Y. 2003)

        10.      With respect to the third and fourth factors -- defendant’s assertion of his

right to a speedy trial and prejudice -- this Court finds that they do not compel dismissal of

the Indictment at this juncture. As a practical matter, Judge Casey, before whom Mr.

Nunez pled guilty, assumed responsibility for making determinations with respect to his

competency and his continued detention under 18 U.S.C. § 4244. Deferring to Judge

Casey’s judgment in these matters, the parties to the proceedings before this Court have


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         Mr. Nunez does not allege, for exam ple, that the pre-trial delay is due in any part to the
Governm ent’s “deliberate procrastination” or “negligent inaction,” see Lane, 561 F.2d at 1079, or that such
delay constitutes an attem pt to obtain a tactical advantage. See United States v. Roberts, 515 F.2d 642,
646-47 (2d Cir. 1975).

        6
          The Speedy Trial Act provides that “the trial of a defendant charged in an inform ation or
indictm ent with the com m ission of an offense shall com m ence within seventy days from the filing date . . .
of the inform ation or indictm ent, or from the date the defendant has appeared before a judicial officer of
the court in which such charge is pending, whichever date last occurs.” 18 U.S.C. § 3161(c)(1). However,
certain periods of delay m ust be excluded in com puting the tim e within which the defendant’s trial m ust
com m ence, including “any period of delay resulting from any proceeding, including any exam inations, to
determ ine the m ental com petency or physical capacity of the defendant,” 18 U.S.C. § 3162(h)(1)(A), or
“the fact that the defendant is m entally incom petent or physically unable to stand trial.” 18 U.S.C. §
3161(h)(4). Significantly, Defendant does not assert that the delay in bringing him to trial constitutes a
violation of the Speedy Trial Act. Rather, Defendant seeks dism issal of the Indictm ent based on his
continued m ental incom petency and his lack of responsiveness to psychiatric treatm ent, which has
resulted in substantial pretrial delay.

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not objected to the delays arising from Mr. Nunez’s evaluation, treatment, and detention

based on his mental incompetency.

       Given that Mr. Nunez has been provisionally sentenced on the Southern District

Indictment to a term of life, it cannot be said that he has been substantial prejudiced by the

delay in bringing him to trial in the Western District. Even if Defendant could identify some

prejudice arising from this delay, it is unlikely that defendant’s alleged hardship would

constitute a speedy-trial violation. See, e.g., Cyphers, 556 F.2d at 636 (finding no

constitutional speedy-trial violation even though defendant's incarceration while awaiting

trial in New York prevented a timely consideration of his parole in Ohio and prohibited him

from receiving a federal sentence concurrent with his Ohio sentence); McQuillan, 525 F.2d

at 818 (holding that there was no speedy-trial violation where pretrial delay cost defendant

his job, and some of his witnesses became unavailable); Lasker, 481 F.2d at 237 (finding

that prejudice to defendant was “insubstantial” even though he suffered damage to his

reputation, witnesses' memories dulled, and two character witnesses for defendant died);

Infanti, 474 F.2d at 528 (finding no violation of defendant's right to a speedy trial even

though defendant alleged that two witnesses critical to his case had died, prosecution

witnesses' memories had lapsed, and records allegedly critical to defendant's case had

been destroyed); Schwartz, 464 F.2d at 505 (holding that alleged destruction of records,

impairment of witnesses' memory, and unavailability of a government official who could

testify that defendant's transaction was legal did not amount to speedy-trial violation); cf.

Barker, 407 U.S. at 534 (holding that defendant’s speedy-trial rights were not violated even

though he spent “ten months in jail before trial” and “was prejudiced to some extent by

living for over four years under a cloud of suspicion and anxiety”). Based on the foregoing,


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this Court finds that any prejudice suffered by Mr. Nunez as a result of his detention and

mental incompetency is not sufficient to establish a constitutional violation under all of the

facts of this case.

       11.    Considering the relevant factors under Barker, this Court finds that the delay

in bringing Mr. Nunez to trial on the Western District Indictment has not violated his right

to a speedy trial. Under the circumstances, it would be erroneous to hold that the pretrial

delay caused Mr. Nunez’s psychiatric evaluation and incompetence violated his right to a

speedy trial. Dale, 426 F. Supp. at 677-78. Likewise, it would be wholly inappropriate to

hold the Government accountable for such delay under the Speedy Trial Act. Oberoi, 295

F. Supp. 2d at 289. This Court finds that the pre-trial delay in this case is not properly

characterized as “unnecessary delay,” such that dismissal of the indictment is justified

under Rule 48(b)(3). Accordingly, Defendant’s Motion to Dismiss the Indictment must be

denied at this juncture.

       12.    Notwithstanding the foregoing, this Court agrees with defense counsel that

Mr. Nunez is a “different man from the man who was indicted.” It has been nearly two

years since Mr. Nunez was declared incompetent, and there is no indication that he has

responded to psychiatric treatment or medication since his commitment to Butner Medical

Facility. As previously noted herein, counsel for the Government has indicated that he is

awaiting a written report from Dr. Lucking regarding Mr. Nunez’s psychiatric prognosis.

Given the Government’s own strong interests in the basic fairness of trial and in the prompt

disposition of criminal charges, the Government may reasonably conclude that dismissal

of these charges may be warranted if it is confirmed that Mr. Nunez is unlikely to be

restored to competency. See United States v. Cockrell, No. Cr. 97-36-N, 1997 WL


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1876542, at *7 (M.D. Ala. June 11, 1997).



      IT HEREBY IS ORDERED, that Defendant Julio Nunez’s Motion to Dismiss the

Indictment is DENIED.



      SO ORDERED.


Dated: July 17, 2006
       Buffalo, New York
                                                   /s/William M. Skretny
                                                   WILLIAM M. SKRETNY




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